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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


 EDUARDO TARAJANO, SR.,
 Individually, and as Trustee of the
 CAROLINA TARAJANO TRUST,
                                                              CASE NO.:
                       Plaintiff,
 v.

 MERRILL LYNCH, PIERCE, FENNER
 & SMITH INCORPORATED, a foreign
 corporation,

                       Defendant.
 _____________________________________/

                           DEFENDANT’S NOTICE OF REMOVAL

        COME NOW Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill”

 or “Defendant”), pursuant to 28 U.S.C. § 1441, et seq., and files this Notice of Removal of this

 action from the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

 Florida to the United States District Court for the Southern District of Florida, Miami Division.

                                    I.   Procedural Background

        1.      This case, styled Eduardo Tarajano, Sr., individually, and as Trustee of the

 Carolina Tarajano Trust v. Merrill Lynch, Pierce, Fenner & Smith Incorporated, a foreign

 corporation, was filed on or about September 21, 2020 in the Circuit Court of the Eleventh

 Judicial Circuit in and for Miami-Dade County, Florida, where it remains pending as Case No.

 2020-019856-CA-01.        Defendant was served with the Summons and Complaint on

 September 29, 2020. True and correct copies of all process, pleadings, and orders served upon

 Defendant are attached hereto as “Exhibit A.”
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         2.    This Notice of Removal has been timely filed because it is filed within thirty days

 of the date that Defendant was served with the Summons and Complaint. See 28 U.S.C. §

 1446(b).

         3.    This action could have been originally filed in this Court pursuant to 28 U.S.C. §

 1332 because there is complete diversity between Plaintiff and Defendant and the amount in

 controversy exceeds $75,000.

         4.    The United States District Court for the Southern District of Florida, Miami

 Division is the federal judicial district and division encompassing the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida where this suit was originally

 filed. Venue is therefore proper under 28 U.S.C. § 89 and § 1441(a).

                                 II.    Grounds For Removal

         5.    Plaintiff’s action is removable under 28 U.S.C. § 1441 because it originally could

 have been filed in this Court under 28 U.S.C. § 1332 (a) as amended, which provides in pertinent

 part:

               The district courts shall have original jurisdiction of all civil
               actions where the matter in controversy exceeds the sum or value
               of $75,000, exclusive of interest and costs, and is between (1)
               citizens of different States….
     A. Citizenship of Parties

         6.    Plaintiff is, now, and was at the time the removal was filed a citizen of Florida

 and a resident of Miami Dade County, Florida. Compl. at ¶ 4.

         7.    Merrill is, now, and was at the time the removal was filed, a Delaware corporation

 with its principal place of business in New York, New York.

         8.    Accordingly, complete diversity exists between Plaintiff and Defendant.

         ii.   Amount in Controversy


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         9.      Under 28 U.S.C. § 1332(a), district courts have diversity jurisdiction over civil

 actions where the amount in controversy exceeds $75,000, exclusive of interest and costs.

         10.     Plaintiff’s Complaint seeks damages exceeding $4,000,000 exclusive of interest

 and costs. Compl. at ¶ 54.

         11.     Accordingly, the jurisdictional amount required for diversity jurisdiction is plainly

 satisfied in this case.

                   III.    All Other Removal Prerequisites Have Been Satisfied

         12.     The Notice of Removal is filed within thirty days of service of the Summons and

 Complaint upon the first served Defendant, and it is therefore timely under 28 U.S.C. § 1446(b).

         13.     Defendant has sought no similar relief with respect to this matter.

         14.     Venue is proper in this district under 28 U.S.C. § 1446(a) because this district and

 division embrace the place in which the removed action has been pending.

         15.     The prerequisites for removal under 28 U.S.C. § 1441 have been met.

         16.      Written notice of the filing of the Notice of Removal will be provided to the

 adverse party as required by law.

         17.     Notice of Filing Notice of Removal will be promptly filed with the Clerk of the

 Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

         18.     The allegations of this Notice of Removal are true and correct, this cause is within

 the jurisdiction of the United States District Court for the Southern District of Florida and this

 cause is removable to the United States District Court for the Southern of Florida, Miami

 Division.

         19.     If any questions arise as to the propriety of the removal of this action, Defendant

 requests to present a brief and oral argument in support of its position that this case is removable.



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                           IV.    Adoption and Reservation of Defenses

        20.     Nothing in this Notice of Removal shall be interpreted as a waiver or

 relinquishment of any of the removing Defendant’s rights to assert any defense or affirmative

 matter, including, but not limited to, the defenses of (1) the mandatory arbitrability of some or all

 of the claims; (2) lack of jurisdiction over the person; (3) improper venue; (4) insufficiency of

 process; (5) insufficiency of service of process; (6) improper joinder of claims and/or parties; (7)

 failure to state a claim; (8) failure to join indispensable parties; or (9) any pertinent defense under

 the Florida Rules of Civil Procedure or the Federal Rules of Civil Procedure, any state or federal

 statute, or otherwise.

        WHEREFORE, the Defendant, desiring to remove this case to the United States District

 Court for the Southern District of Florida, Miami Division being the district and division of said

 Court for the county in which said action is pending, request that the filing of this Notice of

 Removal shall effect the removal of said suit to this Court.

 DATED: October 26, 2020                                Respectfully submitted,

                                                        s/ Keith Olin
                                                        Keith Olin, Esq.




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 26, 2020, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system. I also certify that the foregoing

 document is being served this day on all counsel of record, either via transmission of Notice of

 Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

 parties who are not authorized to receive electronically Notice of Electronic Filing.


                                                      s/ Keith Olin
                                                      Keith Olin, Esq.
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                                                      Pierce, Fenner & Smith Incorporated




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